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Attorneys for Plaintiff
UNITED STATES OF AMERICA


               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                 )   CR. NO. 22-00046 LEK
                                          )
                  Plaintiff,              )
                                          )
                                          )   MOTION TO DETAIN
      vs.                                 )   DEFENDANT WITHOUT BAIL;
                                          )   MEMORANDUM IN SUPPORT
                                          )   OF MOTION TO DETAIN
MASON JORDAN,                             )   DEFENDANT
                                          )
                  Defendant.              )
                                          )
                                          )




            MOTION TO DETAIN DEFENDANT WITHOUT BAIL
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      The United States hereby moves to detain defendant without bail, pursuant

to 18 U.S.C. § 3142.

      1.     Eligibility of Case. This defendant is eligible for detention because

the case involves (check all that apply):

             ☐       a.   Offense committed on release pending felony trial
                          (3142(d)(1)(A)(i))*

             ☐       b.   Offense committed on release pending imposition,
                          execution, or appeal of sentence, conviction or
                          completion of sentence (3142(d)(1)(A)(ii))*

             ☐       c.   Offense committed while on probation or parole
                          (3142(d)(1)(A)(iii))*

             ☐       d.   A citizen of a foreign country or unlawfully
                          admitted person (3142(d)(1)(B))*

             ☐       e.   Crime of violence (3142(f)(1)(A))

             ☒       f.   Maximum sentence life imprisonment or death
                          (3142(f)(1)(B))

             ☐       g.   10+ year drug offense (3142(f)(1)(C))

             ☐       h.   Felony, with two prior convictions in above
                          categories (3142(f)(1)(D))

             ☒       i.   Felony not otherwise a crime of violence involving
                          a minor victim (3142(f)(1)(E))

             ☐       j.   Felony not otherwise a crime of violence involving
                          the possession or use of a firearm, destructive
                          device, or dangerous weapon (3142(f)(1)(E))



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            ☐       k.    Felony not otherwise a crime of violence involving
                          a failure to register under 18 U.S.C. § 2250
                          (3142(f)(1)(E))

            ☒       l.    Serious risk defendant will flee (3142(f)(2)(A))

            ☒       m.    Danger to other person or community**

            ☒       n.    Serious risk obstruction of justice (3142(f)(2)(B))

            ☒       o.    Serious risk threat, injury, intimidation of
                          prospective witness or juror (3142(f)(2)(B))

                   * requires “l” or “m” additionally

                   ** requires “a”, “b”, “c”, or “d” additionally

      2.     Reason for Detention. The court should detain

defendant (check all that apply):

            ☒       a.    Because there is no condition or combination of
                          conditions of release which will reasonably assure
                          defendant's appearance as required (3142(e))

            ☒       b.    Because there is no condition or combination of
                          conditions of release which will reasonably assure
                          the safety of any other person and the community
                          (3142(e))

            ☐       c.    Pending notification of appropriate court or official
                          (not more than 10 working days (3142(d))

      3.     Rebuttable Presumption. A rebuttable presumption that no condition

or combination of conditions will reasonably assure the appearance of defendant as

required and the safety of the community arises under Section 3142(e) because

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(check all that apply):


             ☐       a.   Probable cause to believe defendant committed 10+
                          year drug offense

             ☐       b.   Probable cause to believe defendant committed an
                          offense under 18 U.S.C. § 924(c)

             ☐       c.   Probable cause to believe defendant committed an
                          offense under 18 U.S.C. § 956(a) or 2332b

             ☐       d.   Probable cause to believe defendant committed 10+
                          year offense listed in 18 U.S.C. § 2332b(g)(5)(B)

             ☒       e.   Probable cause to believe defendant committed an
                          offense involving a minor victim listed in 18
                          U.S.C. § 3142(e)

             ☐       f.   Previous conviction for eligible offense committed
                          while on pretrial release

      4.     Time for Detention Hearing. The United States requests that the

court conduct the detention hearing:

             ☐       a.   At first appearance

             ☒       b.   After continuance of 3 days (not more than 3)




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      5. Out of District Rule 5 Cases. The United States requests that the detention

hearing be held:

      ____X___ a. In the District of Hawaii

                   b. In the District where charges were filed



      DATED: June 3, 2022, at Honolulu, Hawaii.

                                             Respectfully submitted,

                                             CLARE E. CONNORS
                                             United States Attorney
                                             District of Hawaii


                                             By /s/ Christine Olson
                                               CHRISTINE OLSON
                                               WAYNE MYERS
                                               Assistant U.S. Attorneys




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